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 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
 2 PAMELA T. JOHANN (CABN 145558)
   Chief, Civil Division
 3 MICHAEL A. KEOUGH (NYRN 5199666)
   Assistant United States Attorney
 4
          450 Golden Gate Avenue, Box 36055
 5        San Francisco, California 94102-3495
          Telephone: (415) 436-7200
 6        Fax: (415) 436-6570
          Email: michael.keough@usdoj.gov
 7
   Attorneys for the
 8 United States of America

 9                                   UNITED STATES DISTRICT COURT
10                                  NORTHERN DISTRICT OF CALIFORNIA
11                                       SAN FRANCISCO DIVISION
12

13   RENÉ QUIÑONEZ and MOVEMENT INK LLC, )                   Case No. 3:22-CV-03195-WHO
                                         )
14        Plaintiffs,                    )                   DECLARATION OF
                                         )                   MICHAEL A. KEOUGH
15     v.                                )
                                         )
16   UNITED STATES OF AMERICA, et al.,   )
                                         )
17        Defendants.                    )
                                         )
18                                       )
19
     I, Michael A. Keough, declare as follows:
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            1.     I am an Assistant United States Attorney and represent the United States of America in
21
     the above captioned matter. I am a member in good standing of the State Bar of New York. The
22
     matters stated in this declaration are true of my own knowledge, and if necessary, I could and would
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     competently testify to them.
24
            2.     Attached hereto as Exhibit 1 is a true and correct copy of an excerpt from the deposition
25
     of René Quiñonez, taken on June 5, 2024.
26
            I declare under penalty of perjury under the laws of the United States that the above is true and
27
     accurate. Executed this 4th day of October, 2024, in Oakland, California.
28

     KEOUGH DECL.
     NO. 3:22-CV-03195-WHO                               1
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 1

 2 DATED: October 4, 2024                    Respectfully submitted,

 3                                           ISMAIL J. RAMSEY
                                             United States Attorney
 4
                                             /s/ Michael A. Keough
 5
                                             MICHAEL A. KEOUGH
 6                                           Assistant United States Attorney

 7                                           Attorneys for the United States of America
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     KEOUGH DECL.
     NO. 3:22-CV-03195-WHO                   2
